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                        The JFA Institute
             Denver, CO/Malibu, CA/Washington, D.C.


                 Conducting Justice and Corrections Research for Effective Policy Making




                      Orleans Parish Prison
              Ten-Year Inmate Population Projection1



                                              Prepared by

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            Major Findings and the OPP Base Projection Summary



Summary of Key Trends Impacting OPP Admissions

    1. Prior to Katrina the Orleans Parish population had gradually declined from
       483,663 to 455,188. The at-risk population was also declining at that time.

    2. Post Katrina the Orleans Parish population has returned to approximately
       80% of its former size. It is not clear the extent to which the population will
       continue to grow.

    3. The repopulation of Orleans Parish has resulted in a population that has a
       higher rate of home ownership, higher education level, lower poverty rate,
       and higher median household income. All of these factors are associated
       with lower crime rates.

    4. Despite significant increases in the Orleans Parish Prison (OPP), both the
       number and rate of serous crimes reported to police have significantly
       declined.

    5. The number of arrests have declined from their peak of nearly 140,000 in
       2004 to 92,500 in 2009.

    6. More recently, the first ten months of 2010 show a 18% decrease in
       arrests as compared to the first ten months of 2009 – a drop of 14,646
       arrests.

    7. The current demographic trends of the Parish as well as the declining
       reported crime and arrest trends suggest a downward trend in OPP
       admissions.



Recent Trends in the OPP Prisoner Population

    1. The OPP currently consists of approximately 3,200 inmates who fall into
       several distinct legal categories.

    2. 44% of the daily OPP population are in pretrial status with the vast
       majority of them being people charged with one or more felony crimes.




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    3. The other large group consists of persons who have been sentenced to
       state prison but are being housed in the OPP (currently there are about
       1,025 such prisoners or about 1/3rd of the entire OPP population).

    4. The number of admissions and releases peaked in about September 2009
       and have since declined consistent with crime and arrest trends.

    5. More recently, OPP admissions for the first nine months of 2010 are 20%
       below what they were for the first months in 2009 – a drop of nearly
       10,000 admissions.

    6. If one removes the DPS&C inmate population from the data the remainder
       of the OPP population has been slightly declining which again is
       consistent with the arrest, booking and release data trends.


Comparisons With Other Parishes

    1. Orleans has a significantly higher incarceration rate compared to the other
       three Parishes even when one takes into account the violent and total
       crime rates.

    2. If the OPP prisoner population was strictly a function of violent or total
       crimes rates and the same criminal justice policies as exist in East Baton
       Rouge, Caddo, the OPP population would be as high as 1,426 (Caddo
       rates).

Detailed Assessment of the OPP Admissions and Releases

    1. During the last 12 months, there were 59,566 admissions that were
       generated by 42,592 people.

    2. The average LOS for all releases was 19.6 days, which produces a
       projected OPP daily population of 3,196.

    3. The overall number of admissions, releases and the LOS are quite
       accurate and can be used to make a valid base projection. There are
       difficulties in determining the exact charge and basis for release as
       persons admitted to the OPP have multiple charges. But despite these
       data issues, the basic legal statues and methods of release are relatively
       accurate.

    4. The largest proportion of admissions and releases are people with an
       outstanding warrant (over 20,000 or 1/3rd of all releases). The vast
       majority of these warrants are issued by the Jefferson Parish largely for
       missed court dates and FTAs.



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    5. When the 20,000 warrant releases are excluded, the overall LOS
       increases to 28.7 days, which is more typical of a major urban jail.

    6. The vast majority of the releases that are not warrants are exiting the OPP
       in some form of pretrial status (92%).

    7. Males and Blacks have significantly longer LOS. Specifically, males have
       an overall LOS of 22 days versus 10 days for females. For Blacks, they
       have a LOS of 23 days versus 11 days for whites and 5 days for
       Hispanics. These LOS differentials result in these categories of inmates
       “stacking up” in the OPP population.

    8. When one controls for the type of charge one is booked for, Blacks
       continue to show a longer LOS although the overall difference is reduced.

    9. A more detailed study should be conducted to determine the basis for the
       longer LOS for Blacks, which is a strong contributor to the size of the OPP
       population.

    10. This finding coupled with the large number of warrant releases means that
        law enforcement and court processing are the two driving forces in
        determining the current and future number of OPP admissions and length
        of stays.

    11. Pretrial felons produce the largest share of the OPP population.
        Efficiencies in expediting those cases would have a large effect on the
        OPP population. For example, if the LOS was reduced by an average of
        10 days, the OPP population would drop by about 250 prisoners.


DPS&C State Inmates Housed and Released in OPP

    1. In 2009 there were 1,143 people who were released from the Department
       of Public Safety and Corrections who have been sentenced to DPS&C by
       the Orleans Courts.

    2. The overall length of stay for these people was 3.0 years with an average
       sentence of 5.5 years.

    3. Of that number 726 (or 64% of all Orleans sentenced inmates) were
       released from the OPP system as opposed to other DPS&C state prison
       facilities.




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Base Projection

The following key assumptions are being made for the ten year base projection
which reflect current trends and criminal justice policies as noted above:

    1. OPP pretrial misdemeanor and warrant admissions will continue to
       gradually decline over the decade at a rate of 5% per year. This
       assumption is based on implemented initiatives that focus on
       misdemeanor crimes that will continue to reduce misdemeanor
       admissions plus declining crime and arrest rates.

    2. The methods of release and the associated average LOS for each release
       type for the pretrial misdemeanor and warrant admissions population will
       remain constant over this ten-year projection.

    3. The OPP pretrial felon admissions and locally sentenced populations will
       remain constant at 2010 level throughout the ten year forecast.

    4. The methods of release and the associated average LOS for each release
       type for the pretrial felon admissions and locally sentenced populations
       will remain constant over this ten-year projection.

Based on these assumptions there will be continued but slight decrease in the
local (non-state prison) Orleans prisoner population now estimated at 2,339 to
about 2,200 by the end of 2012 and continue to decline to 1,953 by the end of
2020.

The state DPS&C inmate population, under current policy is held constant at 950
throughout the ten-year forecast based on current policies. Thus the overall OPP
population will reach 2,903 by the 2018.

If one adds a 7.5% peaking factor to accommodate seasonal fluctuations and
special housing needs of the inmate population the bed capacity needs would be
3,121 beds.

One final observation should be made. As time goes on, the base projection will
inevitably become increasingly inaccurate as new policies and laws are
introduced. For this reason the base projection needs to be revised and updated
on at least an annual basis to ensure the Parish does not find itself with a
crowded jail system.




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                           Orleans Parish Prison Base Forecast
                                      CY 2010-2020
                                By Major Subpopulations

                           Pretrial   Pretrial    Local     Sub-
CY              Warrants   Misd/Other Felony      Sentenced Total        DPS&C     Grand
                                                                                   Total
Sept. 2010           114         597      1,359        169       2,239      950       3,189
         2010        101         591      1,364        162       2,217      950       3,167
         2011         93         582      1,384        161       2,220      950       3,170
         2012         91         563      1,381        166       2,200      950       3,150
         2013         84         546      1,396        165       2,190      950       3,140
         2014         79         522      1,383        162       2,147      950       3,097
         2015         77         487      1,357        163       2,083      950       3,033
         2016         73         470      1,349        161       2,053      950       3,003
         2017         66         448      1,372        168       2,054      950       3,004
         2018         63         427      1,350        165       2,005      950       2,955
         2019         65         392      1,349        158       1,965      950       2,915
         2020         58         369      1,360        165       1,953      950       2,903
With 7.5%
Peaking               62         397      1,462        177       2,099     1,021     3,121




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Introduction

This report provides a ten-year projection of the Orleans Parish Prison (OPP)
population to be housed by the Orleans Parish Sheriff’s Office. The study was
requested by the City of New Orleans and was funded by the National Institute of
Justice, U.S. Department of Justice.

At issue was to determine the need to construct a new jail facility or facilities that
would have sufficient capacity to properly house and manage persons who were
incarcerated under current state and local laws and criminal justice policies.
Mayor Mitch Landrieu signed an executive order establishing a Criminal Justice
Working Group, an official Mayoral Advisory Committee, which was tasked with
reviewing plans and information relating to the size of the Orleans Parish Prison
complex. This report is being submitted to the Task Force as part of its work to
make recommendations to Mayor Landrieu.

As will be emphasized throughout the report, the current and future size of a jail
population is largely the product of a number of factors that are beyond the
control of the Sheriff. Demographic, socio-economic, crime, arrest and court
processing (among others) are factors that contribute to the two major forces that
produce a jail population -- admissions and length of stay (or LOS). What this
initial report does is to document those trends and estimate the long-term effects
of current trends on the projected size of the Orleans jail population. This initial
estimate is referred to as the “base” projection.

A subsequent report will provide estimates of how the base projection may be
impacted by two major reforms or initiatives:

    1. Louisiana Department of Public Safety and Corrections (DPS&C) state
       prisoner population now housed at the OPP; and,
    2. Implementation of a Pre-Trial Release Program.

In completing this study, JFA relied extensively upon data provided by the
Orleans Parish Sheriff’s Office and New Orleans Police Department.2 Data were
also provided by the Vera Institute, which has been conducting a number of
studies of current police and criminal justice practices and initiatives. The DPS&C
provided data on state inmates housed in the OPP and those sentenced to state
prison each year from the Orleans Parish courts.

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Michael Laughlin, and Joe Timmons of the Orleans Parish Sheriff’s Office. Further Secretary James
LeBlanc, Melanie Gueho, and Tabitha Mizell of the Louisiana Department of Public Safety and
Corrections provided valuable information on the number of state inmates housed in the Orleans jail
system. Paul McCaskell provided reported crime and arrest data. Michael Jacobson and Jon Wool of Vera
Institute provided a great deal of background information on current criminal justice initiatives. Finally,
Frederick Kullman of the Office of the Mayor of New Orleans and Eugene Atherton of the Corrections
Technology Center of Excellence, National Institute of Justice, U.S. Department of Justice, helped
coordinate all of our data collection efforts.


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Projection Policy Simulation Model

Inmate and correctional population projections should not be seen as magic
boxes used to predict the future, but instead as tools for understanding the origin
and direction of prisoner population changes based on current and alternative
criminal justice policies. They are used most effectively to predict future
population levels and to analyze the impact of new and proposed changes in
laws, policies and administrative practices.

To meet this need, the JFA has developed the Prophet Simulation Software for
simulating and forecasting pre-trial, sentenced prisoner, probation, parole and
any other correctional populations. This model can be used in a number of
ways. Institutional planners may use it to project future population levels to
better prepare for increases or decreases in the growing demand for scarce bed
space and programmatic resources. Policy makers can foresee the effects of
changes in current laws or policies prior to their implementation. Researchers
can “sort out” and isolate the effects of specific practices that may otherwise be
obscured in the complex web of criminal justice activity

This model has been used since 1982 by the JFA staff to assist numerous state
and local jurisdictions across the country (including the Louisiana Department of
Public Safety and Corrections) to provide support for correctional population
projections. The model has been used successfully to generate prisoner
population forecasts in over 50 state and local jurisdictions across the country. It
was cited by the GAO as one of the nation’s most sophisticated and well-
established projection models available to correctional agencies.

Technical Attributes of the Model

Because no two criminal justice systems are the same, there is no single Prophet
model. Instead, the software allows analysts to customize and construct models
that mimic the actual flow of prisoners through systems, based on the unique law
enforcement, sentencing structure and policy environments of the target system.
It is best to think of the Prophet simulation software as a “shell” or beginning
structure that can be constructed in any fashion.

The Prophet Simulation model is an example of a stochastic entity simulation
model. It is stochastic in the sense that the model is conceptually designed
around the movement of individual cases (offenders) into, through, and out of
correctional populations defined by the user. The model also makes use of the
Monte Carlo simulation techniques by adding an element of randomness to the
simulation model.




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                                Demographics, Crime Rates, Arrests, Convictions




                                                                       SENTENCED
                                   PRETRIAL/PRESENTENCE                   FELON
                                           HOLD                         AWAITING
                                                                        TRANSFER




                       JAIL/CTF
                                                                        TO STATE



                                                                                              STATE
                                                                                               DOC
                                                                        OTHER HOLD
                                LOCALLY               PAROLE/            (INS, WRIT,
                               SENTENCED            PROBATION             FEDERAL)
                                                     VIOLATOR




                           COMMUNITY SUPERVISION and COMMUNITY-BASED FACILITIES


    LEGEND
        Into Jail
        Within Jail
        Out of Jail (in CJS)
        Out of CJS
        Other
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Random numbers are generated and used by the simulation process to
determine the prisoner group composition and lengths of stay associated with a
system. Individual cases are processed by the model through a series of
probability distribution arrays or matrices, which provide computations for
individual cases. When loaded with accurate data, the model will mimic the flow
of prisoners though a correctional system.

The forecasted populations are composed of: (1) cases confined at the beginning
of the simulation, and (2) cases admitted to the population at any point after the
start of the simulations. The existing prisoner population and new prisoner
admissions are modeled separately. By disaggregating a system in this manner,
the user can adjust each of these sub-populations without altering the process of
other sub-groups.      This is particularly significant for completing “what-if”
simulations on the forecasted population.

In order to understand the process, it is useful to briefly discuss the output of the
model. The Prophet simulation model produces two types of projections. First, it
produces prisoner population projections, such as the incarcerated prison, jail or
community program populations.          These outputs are usually of primary
importance. Second, the model also projects movements into and out of various
statuses and produces numerous admission and release projections. The
computer program produces these outputs in the form of vectors which represent
a ten-year time span.

The movements and outputs are especially useful in terms of monitoring how
well the model is replicating the actual flow of cases through the system.
The basic building blocks of the model are:

       Inmate ID Groups:
       Case identifiers or offender groups that are meaningful within the context
       of the local jurisdiction’s record keeping system and are similar to the way
       in which cases are processed through the corrections system (i.e. Male
       Felons, Female Misdemeanant, etc.).

       Legal Statuses:
       Stages or conditions associated with the operation of the system (i.e.,
       Pretrial, Sentenced, etc.) are typically operationalized as statuses.

       Criminal Justice System Flow:
       In order to mimic correctional populations, the various events or processes
       that a person may undergo after the point of the arrest has been made
       need to be constructed. The so called “connections” between the legal
       statuses, represent the paths or flows a case could take through the
       system, and the length of stay (or lag) in each status (i.e. Arrest, Booking,
       Pretrial Release, Convictions, Release). These flows represent the
       lengths of stay in each status.



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To load the model estimates are made of the number of admissions or bookings
for the jail system over the next ten years. These estimates are typically based
on demographic, crime and arrest trends. For each year of admissions, the
associated ID groups, legal status and LOS are based on current data produced
by the local criminal justice agencies. We are most interested in the current
rather than prior policies since we are trying to mimic the current system.
For this project we received detailed data form the OPSO in the form of the
following extract files:
      1. Admissions and Releases to and from the OPP (last 12 months)
      2. The Current OPP population (snapshot of end-of-day population as of
         September 28, 2010).
Each extract file contained detailed data on the person’s admission and release
dates, all criminal justice charges, the reason for admission or booking, the
method and legal status at release. Because the dates for these admission and
release dates were provided, it was possible to calculate the various LOS for
each admission and release.
No projection can be made until the local criminal justice agencies and policy
makers establish their assumptions regarding how they plan to deploy and utilize
their resources. This would include assumptions regarding crime rate trends, the
number of police to be deployed and law enforcement strategies designed to
address current crime rate trends, pre-trial release practices, court processing
and sentencing trends.

As suggested above, criminal justice policies are constantly in flux as new laws
are passed and new administrative reforms are implemented. For these reasons
it is not possible to accurately project the size of a jail population. What can be
done is to show the consequences of current and proposed policies on a jail or
any other correctional population. As will be shown in this report, there is
considerable variance in the projected size and attributes of the Orleans Parish
prison depending on which policies are adopted by local and state criminal
justice agencies

Major Demographic, Crime and Arrest Trends

The devastation that occurred due to Hurricane Katrina has had a major impact
on the size and attributes of the Orleans Parish. This historic event also had a
major impact on the size of Orleans Parish Prison. In this section we summarize
these trends as they relate to the current and projected future size of the Orleans
Parish prison population.




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Demographic Changes

Prior to Katrina, the Orleans Parish population was approximately 455,000
people. As shown in Table 1, the Parish population had been steadily declining
since 2000 when it stood at nearly 484,000. In making a jail projection one is
particularly interested in the size of what is referred to as the “at risk” population.
These are people who are most at risk to be arrested and admitted to the jail
system. As shown in Table 1, the number of males age 15- 34 was declining
prior to Katrina. After Katrina, there was of course a dramatic drop in the
resident population. But since then the population has re-populated to
approximately 355,000 or about 80% of its pre-Katrina population.

The major question is whether the population will continue to increase and reach
its former size. JFA attempted locate such a projection but none exist. Rand did
an early forecast of the re-population effort but it significantly underestimated the
growth in population. 3 Similarly, the state issued a forecast that stated the total
population would not exceed 260,000 by 2010 and would reach 275,000 by the
year 2030.4 While the Parish has rebounded much faster than these earlier
projections, the question is whether and when it will return to its pre-Katrina
levels? At this point it would appear that it will continue to repopulate but at
slower rate than has occurred since 2006.

There are also a number of variables that represent the key socio-economic
attributes of the Orleans Parish population both pre and post Katrina. As shown
in Table 2, on a number of these statistics, the current Orleans population is
more educated, more likely to own a home, less likely to be living in poverty,
have a higher median income, and not have children. In essence the Parish has
been repopulated by a population that is less likely to be involved in criminal
conduct, arrested, and thus become part of the criminal justice system.




3
  McCarthy, Kevin, D.J. Peterson, Narayan Sastry, and Michael Pollard. The
Repopulation of New Orleans after Hurricane Katrina, 2006, Rand Gulf States Policy
Institute.
4
  http://www.louisiana.gov/Explore/Population_Projections/

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                            TABLE 1
              ORLEANS PARISH HISTORICAL POPULATION


                       Orleans     Orleans    Orleans
                                                         Louisiana
              Year      Parish      Males      Males
                                                        Population
                      Population    15-19      20-34
              2000       483,663     18,427    68,084     4,468,979
              2001       477,932     17,864    67,346     4,460,816
              2002       472,744     17,519    66,723     4,466,068
              2003       467,761     17,140    65,635     4,474,726
              2004       461,915     16,711    65,080     4,489,327
              2005       455,188     16,311    63,900     4,497,691
              2006       208,548      5,993    29,042     4,240,327
              2007       288,113      8,900    39,658     4,376,122
              2008       336,644     10,352    46,481     4,451,513
              2009       354,850     10,755    50,241     4,492,076
             Source: US Census Bureau


                          TABLE 2
      COMPARIOSNS ON KEY SOCIO-DEMOGRAPHIC VARIABLES
              FOR ORLEANS PARISH 2009 AND 2009

      Attribute                    2000           2009         Difference
      White                            27%            30%               3%
      Black                            67%            61%              -6%
      Hispanic                          3%             5%               2%

      Home Ownership                   46%            51%                 5%
      Ownership - No Mortgage          33%            38%                 5%
      No Access to Vehicle             27%            18%                -9%
      Households w Child               30%            24%                -6%
      Single Person Household          33%            37%                 4%
      Poverty Rate                     28%            24%                -4%
      Child Poverty Rate               41%            35%                -6%
      Median Income                 $34,928        $36,468            $1,540
      No HS Degree                     25%            16%                -9%
      College Degree                   26%            31%                 5%
      Source: Greater New Orleans Community Data Center




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            Crime Trends

            Crime trends are based on the Federal Bureau of Investigations Uniform Crime
            Reporting (UCR) data system. The UCR represents all serious crimes reported
            to police. It has been criticized for its inability to record all crimes (in particular
            drug crimes) and fluctuating due to changes in law enforcement crime reporting
            standards.     However, assuming reporting standards are not dramatically
            changing from year to year, it is a good measure of the extent of serious crimes
            being committed each year.

            Tables 3 and 4 summarize the UCR trends since 2000. Here one can see that
            both the number and rate per 100,000 for all crime categories have significantly
            declined. The absolute number has declined by about 50% and the rate per
            100,000 has gone from 6,601 to 4,384 (34% decline).

            Comparisons can be made with some of the larger Louisiana Parishes in terns of
            their crime rates. As shown in Table 5, Orleans Parish has a serious crime rate
            that is than Caddo and East Baton Rouge and only slightly higher than Jefferson.
            While the rates remain above the state rate, it is clear that Orleans is a far safer
            place than it was prior to Katrina. More significantly, the number of crimes and
            the crime rate has declined.

            The significant decline in reported crimes is not limited to Orleans Parish. As
            shown in Figure 1 the crime rate for Louisiana peaked in about 1995 and has
            since steadily declined.


                                           TABLE 3
                          TOTAL UCR CRIMES REPORTED ORLEANS PARISH

                                                                                                             Total
                          Armed    Simple              Violent                        Auto    Total          Index
 Year    Murder   Rape    Robb.    Robb. Assault        Total  Burglary     Theft     Theft Property        Crimes
 2002       257     162    1,517      477 2,142          4,555   4,759      14,325     7,566  26,650         31,205
 2003       274     213    1,534      537 2,037          4,595   4,879      12,726     6,872  24,477         29,072
 2004       265     189    1,381      455 2,178          4,468   5,238      12,544     6,534  24,316         28,784
 2005       211     143      831      293 1,397          2,875   4,011       8,150     4,109  16,270         19,145
 2006       160      87      556      205 1,245          2,253   4,087       5,228     2,863  12,178         14,431
 2007       210     115      948      206 1,973          3,452   5,039       7,354     3,190  15,583         19,035
 2008       179      65      902      183 1,540          2,869   4,591       7,081     3,208  14,880         17,749
 2009       174      98      733      199 1,410          2,614   3,821       6,507     2,616  12,944         15,558
  %
Change     32%     40%      52%       58%       34%       43%        20%       55%      65%           51%      50%


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                                            TABLE 4
                       UCR CRIMES PER 100,000 ORLEANS PARISH RESIDENTS

                                                                                                            Total
                              Armed   Simple            Violent                         Auto      Total
 Year    Murder    Rape                         Assault         Burglary        Theft                       Index
                              Robb.   Robb.              Total                          Theft   Property
                                                                                                           Crimes
 2002        54        34       321      101       453        964      1,007    3,030   1,600     5,637      6,601
 2003        59        46       328      115       435        982      1,043    2,721   1,469     5,233      6,215
 2004        57        41       299       99       472        967      1,134    2,716   1,415     5,264      6,231
 2005        46        31       183       64       307        632        881    1,790     903     3,574      4,206
 2006        77        42       267       98       597      1,080      1,960    2,507   1,373     5,839      6,920
 2007        73        40       329       71       685      1,198      1,749    2,552   1,107     5,409      6,607
 2008        53        19       268       54       457        852      1,364    2,103     953     4,420      5,272
 2009        49        28       207       56       397        737      1,077    1,834     737     3,648      4,384
Avg. %
            -9%     -18%       -36%    -45%       -12%      -24%        +7%      -39%    -54%      -35%      -34%
Change
            Source: Calculated by JFA using US Census Data




                                                Table 5
                            Crime Rates for Comparable Parishes and Statewide

                  Parish                                     UCR Crime Rates Per 100,000
                                          Population
                                                             Property  Violent     Total
                  New Orleans                  354,850        4,384      737       5,121
                  East Baton Rouge             434,633        4,913      801       5,714
                  Caddo                        253,623        4,589      988       5,577
                  Jefferson                    443,342        4,249      649       4,898

                  Statewide                     4,492,076      3,823           656      4,479
                    Sources: US Census and Louisiana Commission on Law Enforcement




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                                    Figure 1

                         Lousiana UCR Crime Rates




Adult Arrests

Consistent with the reported crime trends, adult arrests have been declining. In
2004 the year before Katrina, there were approximately 140,000 arrests made.
By 2009 it had dropped to 92,489. Based on current trends, the 2010 total is
likely to only reach 71,000 (see Table 6). Of the three factors reviewed to date
(demographic, reported crime and arrests) these are the most significant as they
have a direct bearing on the number of admissions to the jail system. The largest
component is state level charges followed by City and Traffic level charges. With
the exception of the Traffic level arrests, all categories are projected to have
significantly lower numbers in 2010 based on the first 10 months of 20101. More
precisely, the first 10 months of 2010 show an 18% decrease in arrests as
compared to the first 10 months of 2009 – a drop of 14,646 arrests.




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                                     Table 6
                        Orleans Parish Arrests 2004-2010
                                By Arrest Level

 Year           State  Narcotic             City        Traffic   Juvenile    Total
 2004           34,221  10,522              54,997       21,505     12,654   139,258
 2005           31,278    7,207             39,091       12,434      7,639    97,649
 2006           22,035    8,369             29,221       11,911      1,583    73,119
 2007           34,273    7,239             33,429       14,540      3,347    92,828
 2008           37,057    6,925             29,362       12,719      4,260    90,323
 2009           48,255    6,362             23,733       10,734      3,405    92,489
 2010 est.      38,644    4,459             14,192       10,691      2,968    70,954
      Note: 2010 is based on the first 10 months of 2010.




                                   Figure 2
                 Orleans Arrests January 2004 – October 2010




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Summary of Key Trends Impacting Jail Admissions

     1. Prior to Katrina the Orleans Parish population had gradually declined from
        483,663 to 455,188. The at-risk population was also declining at that time.

     2. Post Katrina the Orleans Parish population has returned to approximately
        80% of its former size. It is not clear the extent to which the population will
        continue to grow.

     3. Despite significant increases in the Orleans Parish population (OPP), both
        the number and rate per capita of serous crimes reported to police have
        significantly declined.

     4. The number of arrests have declined from their peak of nearly 140,000 in
        2004 to 92,500 in 2009. It appears that the 2010 figure will be well below
        the 2009 level.

     5. Current repopulation demographic trends, as well as substantial declines
        in reported crime and arrest trends, should produce a downward trend in
        OPP admissions.

Overview of OPP Population Trends

In this section of the report, we present a variety of data on the OPP population.
The data can be separated into two parts – aggregate and individual level data.
The latter are used to estimate along with the demographic, crime and arrest
data in the prior section the expected number of admissions per year. The
individual level data are generated from the extract files noted earlier and are
used to determine how the flow of people in and out of the prison system based
on their legal status and crime type.

Aggregate Trends

The OPP currently consists of approximately 3,200 inmates who fall into several
distinct legal categories. The major categories are summarized in Table 7 below.
There are several significant patterns to note here. First, 44% of the daily OPP
population are in pretrial status with the vast majority of them being people
charged with one or more felony crimes. The other large group are persons who
have been sentenced to state prison but are being housed in the OPP. Currently
there are about 850 such prisoners or about 1/3rd of the entire OPP population.




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                                 Table 7
          Orleans Parish Prison Population as of October 28, 2010
               By Gender and Selected Major Legal Statuses

     Legal Status                   Males             Females           Totals
                                  N       %          N      %        N         %
     Pretrial                    1,275 40%           149     5%     1,424      44%
     State/Felony                1,174 36%           129     4%     1,303      40%
     City/Misd                      75    2%          17     1%        92        3%
     Traffic                        26    1%           3     0%        29        1%

     Sentenced                      155      5%           15   0%    170        5%
     Parish Prison                   53      2%            4   0%     57        2%
     City Misd                       97      3%           11   0%    108        3%
     Traffic                          5      0%            0   0%      5        0%

     Probation Violations           194      6%           22   1%    216        7%
     Parole Violations              131      4%            8   0%    139        4%

     Total DPS&C                 1,000     31%            25   1%   1,025     32%
     Regular DPS&C                 924     29%            25   1%     949     29%
     DPS&C Work Release             71      2%             0   0%      71      2%
      Note: Not all categories are shown in this table.

But the current OPP population masks the large flow of people in and out of the
Parish prison each year.      Based on the most recent data, there are
approximately 60,000 admissions and releases per year. The last 24 months of
admission and release data are shown in Table 8 and graphically portrayed in
Figure 2. Here one can see that the number of admissions and releases peaked
in about September 2009 and have since declined. The overall trend line is
slightly downward. But more recently, OPP admissions for the first nine months
of 2010 are 20% below what they were for the first months in 2009 – a drop of
nearly 10,000 admissions.




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                               Figure 3
            OPP Bookings, Releases, Charges and Population
                  September 2008 – September 2010




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                                   Table 8
                  Bookings, Releases, Charges, ADP Inmates
                     September 2008 – September 2010

        Month        Bookings    Releases     Charges        ADP
       9/20/08           4,015       3,672        9,662        2,379
       10/20/08          5,119       5,191       12,084        2,488
       11/20/08          4,760       4,769       11,709        2,321
       12/20/08          4,283       4,315        9,993        2,279
       1/20/09           4,888       4,735       11,747        2,516
       2/20/09           4,420       4,477       10,371        2,394
       3/20/09           5,493       5,231       13,248        2,584
       4/20/09           5,338       5,121       12,614        2,877
       5/20/09           5,571       5,428       13,621        2,973
       6/20/09           5,627       5,382       13,828        3,188
       7/20/09           6,158       6,032       15,025        3,369
       8/20/09           5,792       5,764       14,315        3,362
       9/20/09           5,517       5,427       13,597        3,418
       10/20/09          5,348       5,552       13,157        3,327
       11/20/09          5,250       5,115       13,425        3,308
       12/20/09          4,124       4,384        9,985        3,186
       1/20/10           4,417       4,322       10,555        3,241
       2/20/10           3,585       3,642        8,370        3,204
       3/20/10           4,942       4,845       12,011        3,296
       4/20/10           4,727       4,612       11,301        3,512
       5/20/10           4,837       4,926       11,697        3,333
       6/20/10           4,699       4,730       11,205        3,300
       7/20/10           4,392       4,484       10,537        3,230
       8/20/10           4,018       3,995        9,695        3,231
       9/20/10           3,370       3,385        7,908        3,170




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The data also show that the total number of charges associated with each person
admitted to the OPP has declined from a peak of 15,000 in July 2009 to about
8,000 in September 2010. The fact the number of criminal charges has been
rapidly declining can have a significant impact on the pretrial population for the
following two reasons:

     1. The defendant’s pending charges can be disposed of more quickly and
        this reduce the overall period of incarceration; and,
     2. With fewer charges the person may be able to more quickly pretrial
        release.

Since OPP admissions and releases have been recently declining why has the
OPP population been increasing. The answer lies in the DPS&C state prisoner
population. As shown in Figure 3, the DPS&C portion of the OPP population has
increased from a low of about 70 in the early part of 2008 to a peak of 1,062 in
April of 2010. If one removes the DPS&C inmate population once can see that
the remainder of the OPP population has actually been slightly declining which is
consistent with the arrest, booking and release data trends.


                                 Figure 4
                DPS&C and Rest of the OPP Inmate Population
                     January 2008 – September 2010




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    Comparison With Other Major Parishes

    JFA was allso asked to make comparisons with the three other major Parishes in
    Lousiana (Caddo, Jefferson, and East Baton Rouge). Earlier in the report we
    presented population and crime data for these four Parishes.           Similar
    comparisons can be made with regard to jail populations and incarceratinon
    rates. These are sumarized in Table 9.



                                   Table 9
          Comparisons of OPP and Other Major Parishes Jail Populations

                                                                         Jail to    Jail to
                                                                Rate     Violent    Total
                                  Total             Rate Per    less     Crime      Crime
Parish              Population     Jail    DPS&C    100,000    DPS&C      Ratio     Ratio
Orleans              354,850      3,170     942       893       628       0.85      12.26
East Baton Rouge     434,633      1,574      75       362       345       0.43       6.04
Caddo                253,623      1,402     293       553       437       0.44       7.84
Jefferson            443,342       897       34       202       195       0.30       3.97




    It should be noted from the outset that there are many unique features of the
    Orleans Parish that make difficult to make direct comparisons. For example, it is
    a major tourist destination with a great deal of transition occurring in its
    population. Historically it has, until recently, had a higher serious crime rate –
    especially homicide rates.

    Nonetheless, the data show that on a number of measures, Orleans has a
    significantly higher incarceration rate compared to the other three Parishes. The
    higher incarceration rate persists even when one takes into account the violent
    and total crime rates. This finding is based on the last two columns of Table 8,
    which present violent and total crime/jail rate ratios.

    One can also simulate what the OPP non-DPS&C jail population would be today
    if it had the same violent crime or total crime/jail rate ratios as the other three
    parishes. These comparisons are shown in Table10. Basically, if the OPP
    prisoner population was strictly a function of violent or total crimes rates and the
    same criminal justice policies that exist in East Baton Rouge, Caddo, and
    Jefferson, less the DPS&C inmates, it would be as low as 722 (Jefferson rates)
    and as high as 1,426 (Caddo rates).




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                                   Table 10
         Simulations of Projected Orleans Parish Prisoner Population
           Based on Other Parishes Crime and Incarceration Rates
                      (Less DPS&C sentenced inmates)

                          % Higher        Projected       % Higher   Projected
Parish                     Violent          OPP             Total      OPP
                          Crime/Jail      Population      Crime/Jail Population
                            Ratio                           Ratio
East Baton Rouge                51%              1,097          49%       1,126
Caddo                           36%              1,426          48%       1,157
Jefferson                       68%                722          65%         784
Pooled Average                  51%              1,081          54%       1,023


Detailed Analysis of the Daily OPP Population

The “snapshot” file prepared by the Sheriff’s Office provides more detailed
analysis of who is in the jail at any given time and for what crimes. Table 11
shows the population as of September 28, 2010. This file included all prisoners
including the DPS&C sentenced inmates but they have been excluded from the
table. The population is 90% male, 86% Black, with an average age of 33 years
and 49% under age 30. The primary or most serious charge/offense is for a
felony level crime (68%). Relatively small numbers of persons are charged or
convicted of traffic or non-City misdemeanor offense.

Table 12 shows the same population but shows the major legal statuses for the
OPP current population. Here one sees that pretrial felons are by far the largest
group occupying 63% of the non-DPS&C prisoner population. Finally, Table 13
shows the precise charges of the pretrial felon population. About 46% of the
pretrial felons are charged with at least one count of a violent/assaultive offense.

As will be shown in the next section, the snapshot population profile looks very
different than the flow of admissions and releases. Specifically, it tends to reflect
the fact that persons charged or convicted of more serious crimes tend to have
longer LOSs as their bail amounts are higher and/or they are less qualified for
other forms of pretrial release.

This profile also means that in order to further reduce the current jail population
one will have to increasingly focus on persons either charged or convicted with
such crimes.




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                              Table 11
             OPP Prisoner Population - September 28, 2010
                      Excludes DPS&C Inmates


                                                    Avg Time In Jail
                Attribute          N        %
                                                    To Date. (days)
                  Total          2,317    100.0%         146.7
        Gender
             Female                 232    10.0%                  77.2
             Male                 2,085    90.0%                 154.5
        Race
             Other                    4     0.2%                  89.5
             Black                1,980    85.5%                 156.9
             White                  283    12.2%                  92.0
             Hispanic                50     2.2%                  67.1
        Age at Release
             19 & under            301     13.0%                 217.4
             20-24                 429     18.5%                 175.6
             25-29                 402     17.4%                 125.9
             30-34                 291     12.6%                 124.0
             35-39                 209      9.0%                 129.4
             40-44                 179      7.7%                 139.4
             45-49                 186      8.0%                 122.0
             50-59                 201      8.7%                 102.0
             60-59                  28      1.2%                 140.1
             70 & older              2      0.1%                  64.2
             Unknown                89      3.8%                     -
        Average Age                         32.5 years
        Charge Level
             Felony               1,569    67.7%                 172.9
             City                   520    22.4%                 107.9
             Misdemeanor            105     4.5%                  46.5
             Traffic                 16     0.7 %                 26.0
             Unknown                107     4.6%                  74.9




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                                   Table 12
            Current OPP Prisoner Population - September 28, 2010
                 By Legal Status - Excludes DPS&C Inmates

                                                                Avg. Time In
                                                                Jail To Date
                 Current Type                     N     %          (days)
                                       Pretrial
     State Pretrial                           1,419     63.4%          161.2
     Municipal Pretrial                          89      4.0%           22.5
     Traffic Pretrial                            18      0.8%            3.4
                                     Sentence
     Municipal Sentence                         128      5.7%           26.7
     Parish Sentence                             67      3.0%          153.7
     Traffic Sentence                              4     0.2%           24.5
                                  Other Categories
     Probation violation                        217      9.7%           89.3
     Parole violation                           140      6.3%          128.1
     Extradition                                   8     0.4%           84.6
     Federal                                    107      4.8%           74.9
     Hold                                          3     0.1%          101.9
     DHHR                                        26      1.2%          419.9
     Temp. out of custody                        12      0.5%          231.9
     Weekend warrior                               1     0.0%          141.1

                                 Table 13
           Major Offense Charges for the Pretrial Felon Population
                           September 28, 2010

                              Charge         N=1,419    %
                      Murder                     229   16.1%
                      Sex                        106    7.5%
                      Assault                    108    7.6%
                      Robbery                    100    7.0%
                      Other violent               68    4.8%
                      Domestic violence           50    3.5%
                      Drug sale                  123    8.7%
                      Weapons                     42    3.0%
                      Burglary                    72    5.1%
                      Theft/fraud/forgery         67    4.7%
                      Other property              22    1.6%
                      Drug possession             54    3.8%
                      Other non-violent          378   26.7 %


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Detailed Analysis of OPP Admissions and Releases

In this section of the report, we present more detailed analysis of the OPP
prisoner populations based on the flow of persons in and out of the OPP system.
These tables form the basis for the projections and other policy simulations at the
end of the report.

Overall the number of admissions (this includes the DPS&C prisoners) to the
OPP in the past 12 months was 59,566 (Table 14). There is a considerable
amount of multiple admissions/bookings for certain individuals. During the 12-
month period, the number of people that produced the 59,566 bookings was
42,592 or 72% of the total bookings/admissions. This means that approximately
17,000 admissions were for the same person.

The average LOS for all releases was 19.6 days, which produces a projected
OPP daily population of 3,196, which is quite close to the past 12 months of daily
counts, which averaged 3,278 – a difference of only 82. This comparison shows
the OPP data system is accurately measures the overall number of admissions
and releases and the associated LOS.

The 19.6 days is relatively short for a major urban jail system. However, as will
be showed in Table 14, the large number of warrants resulting in an admission to
the OPP skews this overall LOS.

In terms of the basic demographics, while the releases remain largely male and
Black, the proportions in the release file are lower than existed for the snap shot
population. This is because males and Blacks have a significantly long LOS.
Specifically, males have an overall LOS of 22 days versus 10 days for females.
For Blacks, they have a LOS of 23 days versus 11 days for whites and 5 days for
Hispanics. These LOS differentials result in these categories of inmates
“stacking up” in the OPP population.

The substantially longer LOS for Blacks is not unique to Orleans Parish. On a
national level Blacks released from state prisons have substantially longer
periods of imprisonment even when the severity of the current offense is
controlled for. For Orleans, the possibility that Blacks are being charged with
more serious crimes, which have a longer LOS was evaluated. To assess this,
we looked at the pretrial felon releases, which have a longer LOS. We then
computed the LOS by race by crime type.

As shown in Table 15, for all pretrial felon releases and for most of the crime
types, Blacks continue to show a longer LOS although the overall difference is
reduced. It may be that Blacks have differential prior records or other socio-
economic attributes to serve to lower their chances of release and thus increase
their LOS. The data we have does not contain any measures of prior record so
the analysis cannot be completed. But such a study should be conducted, as the



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longer LOS for Blacks is a strong contributor to the OPP population. More
directly, if Blacks charged with pretrial felons had the same LOS as whites, the
OPP population would decline by 250 inmates.



                                   Table 14
                              All OPP Releases
                        October 2009 – September 2010

            Attribute                  Releases        %        LOS
            Total                        59,566      100.0%      19.6
            People Released               42,592      71.5%       NA
            Gender
                 Female                  11,109        18.6%      9.7
                 Male                    48,457        81.4%     21.9
            Race
                 Other                      267         0.4%     19.2
                 Black                   42,735        71.7%     23.3
                 White                   13,209        22.2%     11.2
                 Hispanic                 3,355         5.6%      5.3
            Age at Release
                 19 & under               4,185          7.0%    26.8
                 20-24                   12,436        20.9%     17.8
                 25-29                   11,634        19.5%     15.2
                 30-34                    8,352        14.0%     19.0
                 35-39                    5,748          9.6%    20.0
                 40-44                    4,622          7.8%    24.1
                 45-49                    4,437          7.4%    25.7
                 50-59                    4,413          7.4%    21.8
                 60+                        630         1.1 %    16.7
                 Unknown                  3,109          5.2%    17.5
            Avg. age at release                    32.8 years




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                                  Table 15
              Length of Stay by Race for Pretrial Felon Releases
                       October 2009 – September 2010

                                   Black                    White
                                            LOS                       LOS
      PT-Felony Charge      N       %      (Days)    N       %       (Days)
     Murder                   78    1.1%    257.1       4      0%       61.7
     Sex                     289    4.1%     56.4     125      7%       36.3
     Assault                 147    2.1%     58.2      40      2%       37.1
     Robbery                 179    2.5%     15.3       7      0%      101.3
     Other violent           206    2.9%     53.9      35      2%       30.5
     Battery                 533    7.6%     64.9      89      5%       67.7
     Domestic violence         9    0.1%     32.4       1      0%        0.4
     Drug sale             1,166   16.6%     28.2     117      6%       29.7
     Weapons                 400    5.7%     50.6      34      2%       24.4
     Burglary                311    4.4%     32.6      67      4%       54.3
     Theft/fraud/forgery     840   12.0%     30.8     238     13%       31.5
     Other property          200    2.8%     20.5      42      2%       24.3
     Drug possession       1,201   17.1%     28.6     342     19%       19.0
     Other non-violent       532    7.6%     24.0     532     29%       16.7
     Probation violation     921   13.1%     27.9     154      8%       28.9
     Total                 7,012   99.9%     40.7   1,827    100%       27.6


We have separated the admissions and release analysis according to the major
ID/legal status groups as summarized in Table 16. The largest number of
admissions is for persons who have been detained because they have an
outstanding warrant lodged against them for another pending matter.

Because this legal status group constitutes such a large portion of the OPP
admissions and releases, an audit of 121 cases randomly selected from the pool
was conducted. The audit showed that 107 of these warrants had been issued in
Jefferson Parish. According to OPP staff, the typical scenario was that a person
is picked up on a simple traffic violation which results in the law enforcement
officer discovering the outstanding warrant for failure to pay a fine or make a
court appearance. The person is then taken into custody not on the traffic
violation but for the warrant. The person is then released when the Jefferson
Parish court sets a new court date to settle the pending matter. The overall LOS
for these events is relatively short, but the high volume places great stress on
what is a very costly OPP intake process, which include a medical screen.
Further analysis shows that about 11,750 of the 20,000 are pure warrants with no
underlying charges for other crimes who have a LOS of 3.25 days and occupy



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about 105 OPP beds on any given day. The remaining 9,000 generally had
charges for traffic or failure to pay fine orders.

                                  Table 16
                 All OPP Releases by Legal Status at Release
                       October 2009 – September 2010

     Legal Status at Release       Releases      %        LOS     Estimated
                                                                    ADP
     Total Releases                   59,566 100%            19.6     3,196
     Major Statuses at Release
       Warrant                        20,111     34%          4.2          231
       Pretrial Felons                 9,789     16%         57.1        1,530
       Sentenced Felons                1,267      2%         59.9          208
       Misd Pretrial                  13,213     22%         11.2          405
       Misd Sentenced                    333      1%         52.2           48
       City Sentenced                  1,568      3%         22.3           96
       City Pretrial                   9,865     17%          3.6           97


Table 16 also shows that pretrial felons produce the largest share of the OPP
population. It also implied that efficiencies in expediting those cases would have
a large effect on the OPP population. For example, if the LOS was reduced by an
average of 10 days, the OPP population would drop by about 250 prisoners.

Table 17 shows the method of release for all releases with the exception of the
warrant releases. For those cases virtually all of the warrants were released for
the reason “set new court date”. With those cases removed, the overall LOS
increases to 28.7 days, which is more typical of a major urban jail. The primary
methods of release are surety/bonds, court release, Sheriff’s Fast Track, and
cash bond all of which represent nearly 70% of all releases.

There were some concerns regarding the accuracy of the ROR releases. To
check this concern another audit was conducted on 120 cases that were
randomly selected from the pool of ROR releases. All of them were found to be
correctly labeled as an ROR release. It should also be noted that for 3,007
cases, there was no reason recorded for the release. An audit of this group
should be conducted.

Finally, it was not always possible to precisely understand the legal status of
these releases at the time of release. Such analysis is hampered by the fact that
most releases have multiple charges that have multiple dispositions associated
with each charge. Thus it is not possible to sort all of the charges according to
the most “significant” disposition. That problem aside, one can conclude that the
vast majority of the releases that are not warrants are exiting the OPP in some
form of pretrial status. As shown in Table 18 for the 37,251 such releases, 92%


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were in pretrial status. This finding coupled with the large number of warrant
releases means that law enforcement and court processing are the two driving
forces in determining the current and future number of OPP admissions and
length of stays.

                               Table 17
      Primary Methods of OPP Releases Excluding Warrant Releases
                    October 2009 – September 2010

       Method of Release                Releases   %              LOS
        All Releases Except Warrants        39,432 100.0%           28.7
           Surety/property bond              9,310   23.6%          14.7
           Court release                     8,197   20.8%          19.0
           Sheriff’s “Fast Track”            5,478   13.9%           0.4
           Cash bond                         3,940   10.0%           4.2
           Rollout                           2,524    6.4%          14.5
           ROR                               1,636    4.1%           8.6
           Time served                       1,401    3.6%          34.4
           Release                             931    2.4%          47.3
           DPS&C release                       903    2.3%         240.2
           DPS&C transfer                      804    2.0%         299.1
           Return to Parole                    485    1.2%           2.6
           DA refuse                           167    0.4%          45.8
           New court date                      141    0.4%          64.3
           Other                               418    1.1 %         64.4
           Unknown                           3,097    7.9%          36.9


                                Table 18
                  OPP Releases by Legal Status at Release
                     October 2009 – September 2010

          Known Legal Status at Release         Total         %
          Pretrial – Not Sentenced               34,094        92%
           Unknown                                3,380         9%
           City                                   9,865        26%
           Felony                                 9,789        26%
           Misdemeanor/Traffic                   13,604        37%
          Sentenced                               3,157         8%
           City                                   1,568         4%
           Felony                                 1,267         3%
           Misdemeanor/Traffic                      322         1%
          Total                                  37,251       100%


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The Special Case of the DPS&C Inmates

The state sentenced prisoners occupy a considerable portion of the OPP
population. And as shown earlier the DPS&C inmate population can vary
significantly and independently of the Orleans criminal justice system. It is up to
the OPP to determine how many Orleans people sentenced to state prison will
serve all or some portion of the imposed sentenced. And because the Sheriff’s
Office is reimbursed by the state for housing these people, it has become a
significant revenue stream for the Sheriff. Currently the rate of reimbursement
ranges from $24.39 per day for an inmate with no special medical or mental
health issue to a high of $31.39 for an inmate with mental health issues.

Based on data received from the DPS&C, in 2009 there were 1,143 people who
had been sentenced from Orleans Parish and released from its custody. The
overall length of stay for these people was 3.0 years with an average sentence of
5.5 years. Of that number 726 (or 64%) were released from the OPP system as
opposed to other DPS&C facilities. The DPS&C has authorized the Orleans
Sheriff’s Office to hold no more than 1,050 state inmates.


Base Population Projection

The goal of the base population projection is to estimate the future size of the
OPP population based on current demographic, crime, arrest and court practices
and procedures. As shown above, the OPP population is comprised of many
components all of which will a have a collective impact on the OPP population.
For this study the five major components are as follows:

     Group #1: Warrant only pretrial admissions (no other underlying charges);
     Group #2: The misdemeanor, city, and traffic pretrial admissions;
     Group #3: The felon pretrial admissions;
     Group #4: Locally sentenced offenders: and
     Group #5: The DPS&C state inmate population (900-1,000 inmates).

Based on the analysis the base projection will be separated according to these
four classes of prisoners as each has a differential impact on the OPP
population. For example, Groups 1 and 2 have very high admission rates but
very short LOS thus having less of an impact on the OPP population. Group #3
has a smaller intake rate but significantly long LOS until one is released or has
their court case(s) disposed of. Finally, the DPS&C state inmate population is
the result of an independent process between the OSOP and the DPS&C.

Using this structure one should think of Groups 1 through 4 as being what is
viewed as a typical jail population. As shown previously in Figure 3, the
population that reflects Groups 1 through 4 have recently been declining which is
consistent with the previously noted declines in crime and arrests. With the sole



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possibility of some population growth for Orleans and nearby Jefferson, the
overall trend seems to be downward. There is no basis to project increases in
the OPP population at this time.

Finally, there are a number of initiatives that have been implemented in the past
few years that are designed to further reduce the misdemeanor and felon pretrial
admission streams. These initiatives, as presented to JFA by Vera Institute are
as follows:

      1. Expedited Screening and Disposition Initiative (begun March 31, 2008;
         expanded spring of 2010).

          This initiative seeks to expedite the case processing time for all state
          arrests that do not involve a civilian victim. According to Vera, arrest-
          to-arraignment times dropped from roughly 64 days to roughly 11 days
          for detained individuals. This initiative has served to reduce the LOS of
          these cases.

      2. Municipal Court Summons Initiative (begun July 2008; being expanded
         beginning early 2010).

          This initiative encourages law enforcement agencies to use a
          summons in lieu of formal arrest and booking for persons arrested of
          non-domestic violence, non-public intoxication cases. According to
          Vera, this initiative has increased between October 2009 and
          September 2010 from 41 percent to 59 percent and will increase
          further.

      3. State Misdemeanor Initiative (begun March 29, 2010; expected to be
         expanded to include domestic violence misdemeanors in early 2011).

          This initiative moved all non-violent state misdemeanor charges (when
          unaccompanied by a felony charge) from the Criminal District Court to
          the Municipal Court. Arrest-to-disposition times have dropped from the
          11-day duration for detained state defendants to less than two days for
          roughly 90 percent of arrestees.


There are also a number of additional initiatives that are being considered for
implementation over the next two years. These include 1) a public intoxication
sobering center (to be implemented in early 2011), 2) the reclassification of
municipal offenses Initiative (to be implemented in mid 2011), and 3) a
comprehensive pretrial services agency (in planning; to be implemented October
1, 2011). The former two, if implemented, would have some impact on the
smaller pretrial misdemeanor OPP population while the pretrial services agency
could have a significant impact on the larger pretrial felon population.



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The larger point is that all of these current and future initiatives are designed to
lower OPP admissions and/or the LOS for pretrial admissions. There are no
proposed initiatives that would increase the current OPP population.


Key Assumptions on the Base Projection

Returning to the base projection, the five key assumptions that are being made
are as follows:

      1. OPP pretrial misdemeanor and warrant admissions (Groups 1 and 2)
         will continue to decline at a rate of 5% per year. This assumption is
         based on the implemented initiatives listed above that will continue to
         reduce misdemeanor admissions over the next two years.

      2. The methods of release and the associated average LOS for each
         release type for the pretrial misdemeanor/other and warrant
         admissions population (Groups 1 and 2) will remain constant over this
         ten-year projection.

      3. The OPP pretrial felon admissions and locally sentenced populations
         (Group 3 and 4) will remain constant at 2010 level throughout the ten
         year forecast.

      4. The methods of release and the associated average LOS for each
         release type for the pretrial felon admissions and locally sentenced
         populations (Group 3 and 4) will remain constant over this ten-year
         projection.

      5. The state DPS&C inmate population, under current policy is held
         constant at 950 throughout the ten-year forecast based on current
         policies.

Based on these assumptions there will be continued but slight decrease in this
population now estimated at 2,339 to 2,200 by the end of 2012 and continue to
decline to 1,953 by 2020 (Table 19). When adding the DPS&C 950 average
population, the overall OPP population will dip to 2,903 by the 2020.

Finally, a peaking factor of 7.5% is added to address seasonal fluctuations and
the separation of people according to gender and security/classification
designations. When this is added, the bed capacity required to house the OPP
population by the year 2020 under current policies and trends is 3,121 beds.

One final observation should be made. As time goes on, the base projection will
inevitably become increasingly inaccurate as new policies and laws are



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       introduced. For this reason the base projection needs to be revised and updated
       on at least an annual basis to ensure the Parish does not find itself with a
       crowded jail system.



                                          Table 18

                            Orleans Parish Prison Base Forecast
                                       CY 2010-2020
                                 By Major Subpopulations

                            Pretrial   Pretrial      Local     Sub-
CY               Warrants   Misd/Other Felony        Sentenced Total      DPS&C      Grand
                                                                                     Total
Sept. 2010            114         597      1,359          169     2,239        950      3,189
          2010        101         591      1,364          162     2,217        950      3,167
          2011         93         582      1,384          161     2,220        950      3,170
          2012         91         563      1,381          166     2,200        950      3,150
          2013         84         546      1,396          165     2,190        950      3,140
          2014         79         522      1,383          162     2,147        950      3,097
          2015         77         487      1,357          163     2,083        950      3,033
          2016         73         470      1,349          161     2,053        950      3,003
          2017         66         448      1,372          168     2,054        950      3,004
          2018         63         427      1,350          165     2,005        950      2,955
          2019         65         392      1,349          158     1,965        950      2,915
          2020         58         369      1,360          165     1,953        950      2,903
With 7.5%
Peaking                62         397      1,462          177     2,099      1,021       3,121




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